 

STATE OF NORTH CAROLINA >” Xe 16CRS062729

 

 

 

 

 

 

 

 

 

 

GASTON County In The General Court Of Justice
Superior Court Division
STATE VERSUS

Name And Address Of Defendant
JEFFREY DONALD BLACK INDICTMENT

115 GREEN ST
CHARLOTTE NC 28216
Race Sex Dale OF EE (_] This is a superseding indictment.

M 05/22/1978
Date Of Offense
Offense(s) OR G.S. No. CL.
Date Range Of Offense

1 BREAKING AND OR ENTERING (F) 08/04/2016 14-54(A) H

I], LARCENY AFTER BREAK/ENTER 08/04/2016 14-72(B)(2) H

 

 

 

 

I. The jurors for the State upon their oath present that on or about the date(s) of offense shown and in the county named
above the defendant named above unlawfully, willfully and feloniously did

break and enter a building, located at 4726 Hickory Grove Rd, Gastonia, NC, with the intent to commit a felony therein.

 

Il, And the jurors for the State upon their oath present that on or about the date(s) of offense shown and in the county named
above the defendant named above unlawfully, willfully and feloniously did

steal, take, and carry away a Woodward Easy Generator 3000, the personal property of Timothy Lee Lineberger, such property
having a value in excess of $1,000.00, pursuant to a violation of Section 14-54 of the General Statutes of North Carolina,

 

 

 

 

 

 

Share Prosecutor
es ee ee WITNESSES/ He
LM Rheinson- Gaston County Police boca 2016-38272
[_] J Cole- Gaston County Police CJ
ids Dover- Gaston County Police Cc)
(_] B Roberts- Gaston County Police OO

 

 

The Witnesses marked "X" were sworn by the undersigned Foreperson of the Grand Jury and, after hearing testimony, this
Bill was found to be:

Wa TRUE BILL by twelve or more grand jurors, and | the undersigned Foreperson of the Grand Jury, attest the concurrence
of twelve or more grand jurors in this Bill of Indictment.

LJ NOT A TRUE BILL.

Date Signature Of Grand Jury Foreperso
a] $ [ls Daud Cal so—

AOC-CR-122, Rev. 1/13
© 2013 Administrative Office of the Courts

 

 

 

 

Case 3:20-cr-00426-FDW-DSC Document 51-4 Filed 10/27/21 Page 1 of6
 

 

 

File.
STATE QF NORTH CAROLINA > veces06o705 ;

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ASTONIA
County Seat of Court =
In The General Court Of Justice
NOTE: (Use AOC-CR-310 for DWI off .. te . cone
(Use or DVT offensso(s}.} (] District Superior Court Division
STATE VERSUS JUDGMENT SUSPENDING SENTENCE - FELONY
Name Of Defendant PUNISHMENT: [_] COMMUNITY INTERMEDIATE
BLACK,JEFFREY,DONALD "(STRUCTURED SENTENCING)
Race Sex Date Of Birth (For Offenses Committed Dec. 1, 2011 - Nov. 30, 2016)
Ww M 05/22/1978 G.S. 15A-1341, -1342, - 1343, -1343.2, -1346
Attomey For State Def. Found Def. Waived |Atomey For Defendant [x] Appointed | Get Rptr Initials
DEBORAH HATTON GULLEDGE Not Indigent Cl atiomey LARRY G HOYLE [_] Retained JC
The defendant was found guilty/responsible, pursuant to plea (L_] pursuant to Alford) (_]ofno contest) [_]trial by judge [_] trial by jury, of
File No.(s) Off. Offense Description Offense Date G.S. No. F/M | CL. |’Pun. CL.
16CRS062725 5S! | FELONY LARCENY 08/27/2016 14-72(A) F H
16CRS058924 51 | POSSESS METHAMPHETAMINE 07/29/2016 90-95(A)(3) F I
*NOTE: Enter punishment class if different from underlying offense class (punishment class represents a status or enhancement). PRIOR
The Court |X] 1. has determined, pursuant to G.S. 15A-1340.14, the prior record points of the defendanttobe__10 .  Decopn CI Only

Any prior record level point under G.S. 15A-1340.14(b)(7) is based on the jury's determination of this issue WMIV[] VI
beyond a reasonable doubt or the defendant’s admission to this issue, LEVEL: U CU
[_] 2. makes no prior record level finding because none is required.

‘ourt (NOTE: Block 7 or 2 MUST be checked.):
- makes no writlen findings because the prison term imposed is within the presumplive range of sentences authorized under G.S. 15A-1340.17(c).

» Makes the Determination of aggravating and mitigating factors on the attached AOC-CR-605.
. makes the Findings of Extraordinary Mitigation set forth on the attached AOC-CR-606.

The
LJ
q . finds the defendant has provided substantial assistance pursuant to G.S. 90-95(h)(5).
, a habitual breaking and entering status offender, to be sentenced as a Class E felon.
C]
C]
O
|
Lt

 

ak OAN=>O

ress the defendant to be (check only one) (Ja habitual felon to be sentenced four classes higher than the principal felony (no higher than Class C).
. finds enhancement pursuantto: [_] G.S. 90-95(e)(3) (drugs). C G.S. 14-3(c) (hate crime). [_]G.S. 50B-4.1 (domestic violence).
LJG:S. 14-50.22 (gang). [_] Other: . This finding is based on the
jury's determination of this issue beyond a reasonable doubt or the defendant's admission.
7. finds the above-designated offense(s) is a repartable conviction under G.S. 14-208.6 and therefore imposes the special conditions of probation
set forth on the attached AOC-CR-603C, Page Two, Side Two, and makes the additional findings and orders on the attached AOC-CR-615,
Side Two.

8. finds the above-captioned offense(s) involve the (check ail that apply) O physical or mental [_]sexual abuse of a minor.
CJ (If No. 7 not found) and therefore imposes the special conditions of probation set forth on the attached AOC-CR-603C, Page Two, Side Two.

oO

 

9. finds that a O motor vehicle C commercial motor vehicle was used in the commission of the offense and that it shall be reported to DMV.
0. finds this is an offense involving assault, communicating a threat, or an act defined in G.S. 50B-1(a), and the defendant had a personal relationship
as defined by G.S. 50B-1(b) with the victim.
{_]114. finds the above-designated offense(s) involved criminal street gang activity. G.S. 14-50.25.
[_}i2. did not grant a conditional discharge under G.S. 90-96(a) because (check all that apply) C the defendant refused to consent.
(_] (offenses committed on or after Dec. 1, 2013, only) the Court finds, with the agreement of the District Attorney, that the offender is inappropriate for a
conditional discharge for factors related to the offense.
(_]13. finds that the defendant used or displayed a firearm while committing the felony, G.S. 15A-1382.2.
[_]14. finds that this was an offense invalving child abuse or an offense involving assault or any of the acts as defined in G.S. 50B-1(a) committed against
a minor, G.S, 15A-1382.1(a1).
The Court, having considered evidence, arguments of counsel and statement of defendant, Orders that the above offenses, if more than one, be
consolidated for judgment and the defendant be imprisoned

 

 

 

 

for a minimum term of 10 months [ for a maximum term of 21 months in the custody of the N.C. DAC.
This sentence shall run at the expiralion of sentence imposed in file number GASTON/2017CRS 50352 51 .
The defendant shall be given credit for 3 days spent in confinement prior to the date of this Judgment as a result of this charge(s) to be applied

 

toward the E] sentence imposed above. imprisonment required for special probation set forth on AOC-CR-603C, Page Two.
SR TG RE AE De RI Bae] SUSPENSION OF SENTENCE Ea ee oe ee <

Subject to the conditions set out below, the execution of this sentence is suspended and the defendant is placed on supervised C] unsupervised

probation for 30 months. : ‘

[_] 4. The Court finds thata [_Jlonger [_]shorter period of probation is necessary than that which is specified in G.S. 15A-1343.2(d).

L] 2. The Court finds that itis NOT appropriate to delegate to the Section of Community Corrections the authority to impose any of the requirements in

G.S. 15A-1343.2(e) for community punishment or G.S. 15A-1343.2(f) for intermediate punishment. °
[_] 3. This period of probation shall begin CJ when the defendant is released from incarceration C] at the expiration of the sentence _ in the case below.
File No. Offense County Court Date

 

 

 

 

 

 

 

 

(_] 4. The defendant shall comply with the conditions set forth in file number
{_] 5. The defendant shall provide a DNA sample pursuant to G.S, 15A-266.4. (AOC-CR-319 required)

@ Ee Ee RO MONETARY CONDITIONS [2
The defendant shall pay to the Clerk of Superior Court the “Total Amount Due” shown below, plus the probation supervision fee if placed on supervised
probation above, pursuant to a schedule im determined by the probation officer. LC set out by the court as follows:

 

 

 

 

 

 

 

 

 

Costs Fine . Reslitulion* Attomey’s Fees Comm Serv Fee |EHA Fee SBM Fee Appt Fee/Misc Total Amount Que
$ 0.00 $ $ 0,00 $ 0.00 $ 0.00 $0.00 $ 0.00 3 0.00 $
“See altached "Restitution Worksheet, Notice And Order (Initial Sentencing)” AOC-CR-611, which is incorporated by reference.

 

The Court finds just cause to waive costs, as ordered on the attached [_] AOC-CR-618. Other: COSTS ASSESSED IN CASE 1

L] Upon payment of the "Total Amount Due,” the probation officer may transfer the defendant to unsupervised probation.
Material opposite unmarked squares is lo be disregarded as surplusage,

AOC-CR-603C, Rev. 12/16, © 2016 Administrative Office of the Courts Ove”)

Case 3:20-cr-00426-FDW-DSC Document 51-4 Filed 10/27/21 Page 2 of 6
 

 

[REGULAR CONDITIONS OF PROBATION - G.S. 15A-1343(b) _ |

 

NOTE: Any probationary judgment may be extended pursuant lo G.S. 15A-1342. The defendant shall: (1) Commit no criminal offense in any jurisdiction. (2) Possess no firearm,
explosive device, or other deadly weapon listed In G.S. 14-269. (3) Remain gainfully and sultably employed or faithfully pursue a course of study or vocational training, that will
equip the defendant for suitable employment, and abide by all rules of the institulion. (4) Satisfy child support and family obligations, as required by the Court.

f the defendant is on supervised probation, the defendant shall also; (5) Not abscond, by willfully avoiding supervision or by willfully making the defendant's whereabouts
unknown to the supervising probation officer. (6) Remain within the jurisdiction of the Court unless granted written permission to leave by the Court or the probation officer,

(7) Report as directed by the Court or the probation officer ta the officer at reasonable times and places and in a reasonable manner, permit the officer to visit at reasonable
times, answer all reasonable inquiries by the officer and obtain prior approval from the officer for, and notify the officer of, any change in address or employment. (8) Notify the
probation officer if the defendant fails to obtain or retain satisfactory employment. (9) Submit at reasonable times to warrantless searches by a probation officer of the defendant's
person and of the defendant's vehicle and premises while the defendant is present, for purposes directly related to the probation supervision, but the defendant may not be
required to submit to any other search that would otherwise be unlawiul. (10) Submit to warrantless searches by a law enforcement officer of the defendant's person and of the
defendant's vehicle, upon a reasonable suspicion that the defendant is engaged in criminal activity or is in possession of a firearm, explosive device, or other deadly weapon
listed in G.S. 14-269 without written permission of the court. (11) Not use, possess, or contral any illegal drug or controlled substance unless it has been prescribed for the
defendant by a licensed physician and is in the ariginal container with the prescription number affixed on it; not knowingly associate with any known or previously convicted users,
possessors, or Sellers of any such illegal drugs or controlled substances; and not knowingly be present at or frequent any place where such illegal drugs or controlled substances
are sold, kept, or used. (12) Supply a breath, urine, or blood specimen for analysis of the possible presence of prohibited drugs or alcohol when instructed by the defendant's
probation officer for purposes directly related ta the probation supervision. If the results af the analysis are positive, the probationer may be required to reimburse the Division of
Adult Correction for the actual costs of drug or alcohol screening and testing.

(]13. The Court finds that the defendant is responsible for acts of domestic violence and therefore makes the additional findings and orders on the
attached AOC- CR-603C, Page Two, Side Two.

: , SPECIAL CONDITIONS OF PROBATION - G.S. 15A-1343(b1) |

The defendant shall also comply with the following special conditions which the Court finds are reasonably related to the defendant's rehabilitation:

14. Surrender the defendant's drivers license to the Clerk of Superior Court for transmittal/notification to the Division of Motor Vehicles and not operate
a motor vehicle for a period of or until relicensed by the Division of Motor Vehicles, whichever is later.

(]15. Successfully pass the General Education Development Test (G.E.D.) during the first months of the period of probation.

L] 16. Complete hours of community service during the first days of the period of probation, as directed by the judicial services
coordinator. The fee prescribed by G.S. 143B-708 is

not due because it is assessed in a case adjudicated during the same term of court.
[_]to be paid (J pursuant to the schedule set out under Monetary Conditions on the reverse. [_] within days of this Judgment
and before beginning service.

[_]17. Report for initial evaluation by
participate in all further evaluation, counseling, treatment, or education programs recommended as a result of that evaluation, and comply with all
other therapeutic requirements of those programs until discharged.

CT 18. Not assault, threaten, harass, be found in or on the premises or Workplace of, or have any contact with
“Contact” includes any defendant-initiated contact, direct or indirect, by any means, including, but not limited to, telephone, personal contact, e- -mail,
pager, gift-giving, telefacsimile machine or through any other person, except

C] 19. (for offenses committed on or after December 1, 2012) Abstain from alcohol consumption and submit to continuous alcohol monitoring for a period of

days, {_]months, the Court having found that a substance abuse assessment has identified defendant's alcohol dependency or

 

 

 

chronic abuse.
x . .
20 QEiBe BY ALL ASPECTS SET FORTH IN CASE 1; !7CRS50352; COST AND DNA ORDERED IN THAT CASE

 

21. Comply with the Special Conditions Of Probation which are set forth on AOC-CR-603C, Page Two.
a o 3 ORDER OF COMMITMENT/APPEAL ENTRIES

 

(_] 1. Itis ORDERED that the Clerk deliver two certified copies of this Judgment and Commitment to the sheriff or other qualified officer and that the
officer cause the defendant to be delivered with these copies to the custody of the agency named on the reverse to serve the sentence imposed or
until the defendant shall have complied with the conditions of release pending appeal.

(] 2. The defendant gives notice of appeal from the judgment of the trial court to the Appellate Division. Apfeal entries and any conditions of post
conviction release are set forth on form AOC-CR-350. 7 2

L.
| SIGNATUREOF JUDGE [Ax fKZ~/

 

 

 

 

 

Date Name OF Presiding Judge (type or print) Signature ressding J
10/03/2017 THE HONORABLE HUGH B LEWIS
| CERTIFICATION {7 CLT Le

| certify that this Judgment and the attachment(s) marked below is a true and complete copy fit the original “which is on file in this case.

[_] 4. Appellate Entries (AOC-CR-350) CJ 6. Judicial Findings As To Required DNA Sample (AOC-CR-3139)

[_] 2. Judgment Suspending Sentence (AOC-CR-603C, Page Two) LC] 7. Judicial Findings And Order For Sex Offenders - Suspended
(additional conditions of probation) Sentence (AOC-CR-615, Side Two)

(] 3. Felony Judgment Findings Of Aggravating And Miligating Factors [] 8. Convicted Sex Offender Permanent No Contact Order (AOC-CR-620)
(AOC-CR-605) 9, Additional File No.(s) And Offense(s) (AOC-CR-626)

{] 4. Extraordinary Mitigation Findings (AOC-CR-606) Ae Other:

 

(_] 5. Restitution Worksheet, Notice And Order (Initial Sentencing)
(AOC-CR-61 1) s..
Cale Date Certified Copies Delivered To Sheriff Signature Of Cle a lke} Deputy CSC [_] Asst. ese
10/03/2017 NAINM? y [_] Clerk Of Superior Court SEAL

Malerial opposite unmarked 4quertés iso be d&regarded as surplusage.

AOC-CR-603C, Side Two, Rev. 12/16, © 2016 Administrative Office of t ourts

 

 

 

 

 

 

Case 3:20-cr-00426-FDW-DSC Document 51-4 Filed 10/27/21 Page 3 of A
 

 

File,
STATE VERSUS » 16CRS062725 51

Name Of Defendant
BLACK,JEFFREY,DONALD

NOTE: Use this page with AOC-CR-603C, “Judgment Suspending Sentence - Felony"; AOC-CR-604C, “Judgment Suspending Sentence - Misdemeanor’;
AOC-CR-619C, "Conditional Discharge Under G.S. 90-96(a)"; AOC-CR-621C, "Conditional Discharge Under G.S. 14-50.29"; AOC-CR-627C,
“Conditional Discharge Under G.S. 90-96(a1)"; AOC-CR-628C, "Conditional Discharge Under G,S. 14-204(b)”;

AOC-CR-632C, “Conditional Discharge Under G.S, 15A-1341(a4)"; or AOC-CR-633C, “Conditional Discharge Under G.S. 15A-1341 (a5)";
for offenses committed from Dec. 1, 2011, through Nov. 30, 2016.

pe | COMMUNITY AND INTERMEDIATE PROBATION CONDITIONS - G.S. 15A-1343(a1) [

In addition to complying with the regular and any special conditions of probation set forth in the "Judgment Suspending Sentence” entered in the above
case(s), the defendant shall also comply with the following conditions of probation, which may be imposed for any community or intermediate punishment.
[_]1. Submit to house arrest with electronic monitoring, remain at the defendant's residence for a period of {_]days, [_]months, abide by all
tules, regulations, and directions of the probation officer regarding such monitoring, and pay the fees prescribed In G.S. 15A-1343(c) as provided
under Monetary Conditions. The defendant may leave the residence for the following purpose(s) and as otherwise permitted by the probation officer:
employment [_|counseling [_]acourse of study [_] vocational training.
Other:

  

ime Complete hours of community service during the first______—_— days of the period of probation, as directed by the judicial services
coordinator, The fee prescribed by G.S. 143B-708 is
not due because it is assessed in a case adjudicated during the same term of court.
to be paid C] pursuant to the schedule set out under Monetary Conditions in the “Judgment Suspending Sentence.” CJ within ss days
of this Judgment and before beginning service.
Other:

(13. Submit to the following period(s) of confinement in the custody of the {_] Sheriff of this County. [[] (other
local confinement facility). C and pay jail fees. The defendant shall report in a sober condition to serve the term(s) indicated below,
NOTE: Periods of confinement imposed here must be for two-day or three-day consecutive periods, only, for no more than six days in a single month, and in no more
than three separate months during the period of probation. To impose special probation under G.S, 15A-1351, see INTERMEDIATE PUNISHMENTS, below.

 

 

 

 

 

 

 

Date Hour OAM f (12 days Date Hour |C)AM f O12 days Date Hour |(JAM f (2 days
opm {'"| O13 days opm |'°'|—3 days opm |'°lc3 days
Date Hour OAM for O2 days Date Hour |Q)AM for O12 days Date Hour OAM for O02 days
OPM O13 days OPM O13 days OPM O13 days
Date Hour {CAM for O12 days Date Hour {CAM for (2 days Dale Hour |(CJAM for 012 days
(PM O13 days OPM (13 days OPM O13 days

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(_]4. Obtain a substance abuse assessment, monitoring, or treatment as follows:

 

CJ 5. (for offenses committed on or after December 1, 2012) Abstain from alcohol consumption and submit to continuous alcohol monitoring for a period of
[_]days, [_] months, the Court having found that a substance abuse assessment has identified defendant's alcohol dependency or
chronic abuse.
im 6. Participate in an educational or vocational skills development pragram as follows:

    

{_]7. Submit to satellite-based monitoring, if required on the attached AOC-CR-615, Side Two.

Bera SRS aN id Jae ICR Ege S | INTERMEDIATE PUNISHMENTS E s ae uke
In addition to complying with the regular and any special, community, or intermediate conditions of probation set forth in the “Judgment Suspending
Sentence” or herein for the above case(s), the defendant shall also comply with the following intermediate punishment(s) under G.S. 15A-1340.11(6).
1. Special Probation - G.S. 15A-1351

For the defendant’s active sentence as a condition of special probation, the defendant shall comply with these additional reqular conditions of
probation: (1) Obey the rules and regulations of the Division of Adult Correction governing the conduct of inmates while imprisoned. (2) Report to a

probation officer in the State of North Carolina within seventy-two (72) hours of the defendant's discharge from the active term of imprisonment.
BA, Serve an active term of___3 _[X]days__ [_] months hours _ in the custody of the

N.C. DAC. [_] Sheriff of this County. [_] Other: .
(NOTE: Noncontinuous periods of special probation may not be served in DAC. Also, special probation imposed in misdemeanor sentences on or after Oct. 1,

2014, may not be served in DAC.)
CJ B. The defendant shall report in a sober condition to begin serving his/her term on:
Day Date Hour OAM | and shall remain in [Pe | Pate Hour CAM

COPM custody until: opm

[_]c. The defendant shall again report in a sober condition to continue serving this term on the same day of the week for the next

consecutive weeks, and shall remain in custody during the same hours each week until completion of the active term ordered.
(_]D. This term shall be served at the direction of the probation officer within [] days | months _ of this judgment.
(JE. Pay jailfees. F. Work release is recommended. [_]G. Substance abuse treatment is recommended.
H. Other: CREDIT FOR TIME SERVED

 

 

 

 

 

 

[_]2. Drug Treatment Court - G.S. 15A-1340.11(3a); 15A-1340.11(6)
Comply with the rules adopted for the program as provided for in Article 62 of Chapter 7A of the General Statutes and report on a regular basis for a

specified time to participate in court supervision, drug screening or testing, and drug or alcohol treatment programs.
Other:

 

Spi? pisses INTERMEDIATE CONDITIONS OF PROBATIONS - G.S. 15A-1343(b4) | BGR oe
If subject to intermediate punishment, the defendant shall, in addition to the terms and conditions imposed above, comply with the following intermediale conditions of probation,
(1) If required by the defendant's probation officer, perform community service under the supervision of the Section of Community Corrections, and pay the fee required by
G.S. 143B-708, bul no fee shall be due if the Court imposed community service as a special condition of probatian and assessed the fee in this judgment or any judgment for an
offense adjudicated in the same term of coun. (2) Not use, possess, or control alcohol. (3) Remain within the defendant's county of residence unless granted written permission
to Jeave by the court of the defendant's probation officer. (4) Parlicipate in any evaluatian, caunseling, treatment, or educational program as directed by the probalion officer,
keeping all appointments by abiding by the rules, regulations, and direction of each program.

Material opposile unmarked squares is la be disregarded as surplusage,

(Over
AOC-CR-603C, Page Two, Rev, 12/16, © 2016 Administrative Office of the Courts

Case 3:20-cr-00426-FDW-DSC Document 51-4 Filed 10/27/21 Page 4 of 6
 

MANDATORY SPECIAL CONDITIONS FOR SEX OFFENDERS AND PERSONS CONVICTED OF
OFFENSES INVOLVING PHYSICAL, MENTAL, OR SEXUAL ABUSE OF A MINOR - G.S. 15A-1343(b2)

 

 

 

NOTE: The following are not defined as intermediate punishments under G.S. 15A-1340.11(6).
NOTE: Select only one of the three sets of conditions below. .
{_] 1. Special Conditions For Reportable Convictions - G.S. 15A-1343(b2)
NOTE: Impose only for a reportable conviction under G.S. 14-208.6.
The defendant has been convicted of an offense which is a reportable convictian as defined in G.S, 14-208.6(4) and must
a, Register as a sex offender and enroll in satellite-based monitoring if required on the attached AOC-CR-615, Side Two.
b. Participate in such evaluation and treatment as is necessary to complete a prescribed course of psychiatric, psychological, or olher
rehabilitative treatment as ordered by the court.
c. Not communicate with, be in the presence of, or found in or on the premises of the victim of the offense.
CJ d. (ifthe Court finds physical, mental, or sexual abuse of a minor) Not reside in a household with

(1) (for sexual abuse) any minor child.

(2) (for physical or mental abuse) any minor child C] other than the child(ren) named below, for whom the court expressly finds that it is
unlikely that the defendant's harmful or abusive conduct will recur and that it would be in the best interest of the child(ren) named
below to reside in the same household wilh the probationer. (Name minor child(ren) with whom the probationer may reside in the same
household):

e. Submit at reasonable times to warrantless searches by a probation officer of the defendant's person, of the defendant's vehicle and
premises, and of the defendant's computer or other electronic mechanism which may contain electronic data, while the defendant is
present, for the following purposes which are reasonably related to the defendant's probation supervision: FI child pornography

 

 

f. Other:

C] 2. Special Conditions For Offenses Involving The Sexual Abuse Of A Minor - G.S. 15A-1343(b2)
NOTE: Impose if offense involved sexual abuse of a minor but is not a reportable conviction.
The defendant has been convicted of an offense involving the sexual abuse of a minor and must
a. Participate in such evaluation and treatment as is necessary to complete a prescribed course of psychiatric, psychological, or other
rehabilitative trealment as ordered by the court,
b. Not communicate with, be in the presence of, or found in or on the premises of the victim of the offense.
c. Not reside in a household with any minor child. (G.S, 15A-1343(b2)(4))
d. Submit at reasonable times to warrantless searches by a probation officer of the defendant's person, of the defendant's vehicle and
premises, and of the defendant's computer or other electronic mechanism which may contain electronic data, while the defendant is
pyr for the following purposes which are reasonably related to the defendant's probation supervision: Ey child pornography

 

e. Other:

(_] 3. Special Conditions For Offenses Involving The Physical Or Mental Abuse Of A Minor - G.S. 15A-1343(b2)
NOTE: impose if offense involved physical or mental abuse of a minor but is not a reportable conviction and did not involve sexual abuse.
The defendant has been convicted of an offense involving the physical or mental abuse of a minor and must

a. Participate in such evaluation and treatment as is necessary to complete a prescribed course of psychiatric, psychological, or other
rehabilitative treatment as ordered by the court,
b, Not communicate with, be in the presence of, or found in or on the premises of the victim of the offense.
c. Not reside in a household with
(1) any minor child.
LJ (2) any minor child other than the child(ren) named below, for whom the court expressly finds that it is unlikely that the defendant's
harmful or abusive conduct will recur and that it would be in the best interest of the child(ren) named below to reside in the same
household with the probationer. (Name minor child(ren) with whom the probationer may reside in the same household):

 

d. Submit at reasonable times to warrantless searches by a probation officer of the defendant’s person, of the defendant's vehicle and
premises, and of the defendant's computer or other electronic mechanism which may contain electronic data, while the defendant is
pyr for the following purposes which are reasonably related to the defendant's probation supervision: | child pornography

 

e. Other

 

 

_- | ADDITIONAL CONDITIONS FOR DOMESTIC VIOLENCE |

(_] 1. Pursuant to its finding that the defendant is responsible for acts of domestic violence, the Court further finds that: /
a. there is an abuser treatment program, approved by the Domestic Violence Commission, reasonably available to the defendant, who shall:
LC] (1) (tor supervised probation) attend and complete (check ane) C] (program name)
a program to be identified by the probation officer, and abide by the program's rules. The probation officer shall send a copy of
this judgment to the program, which shall notify the officer if the defendant fails to participate or is discharged for violating any
of its rules.
O (2) (for unsupervised probation) attend and complete (check one) C] (program name)
(A a program chosen by the defendant, who shall notify the program and the district attorney of that choice within ten (10) days
of the entry of this judgment, and abide by the program's rules. The district attorney shall send a copy of this judgment to the
program, which shall notify the district attorney if the defendant fails ta participate or is discharged for failure to comply with the
program or its rules.
C b. there is no approved abuser treatment program reasonably available. CT] c. it would not be in the best interests of justice to order the
defendant to complete an abuser treatment program because
Cl 2. As additional Special Conditions of Probation, the defendant shall:
a. not come within feet of

1] A /
[_] b. comply fully with any G.S. Chapter 50B Domestic Violence Protective Order in effegf, Ue
The above conditions are incorporated in the "Judgment Suspending Sentence" in the above cas, an e a partAhereof.

 

 

 

at any time.

 

 

 

 

Dale Name Of Presiding Judge (lype or print) SignaturefOf Pres} Jud
10/03/2017 THE HONORABLE HUGH B LEWIS
“**

Material opposite unmarked squares is ta be disregarded lusage|
AOC-CR-603C, Page Two, Side Two, Rev. 12/16, © 2016 Administrative Office of the Court

Case 3:20-cr-00426-FDW-DSC Document 51-4 Filed 10/27/21 Page 5 of 6
 

 

STATE OF NORTH CAROLINA

GASTON County

File No.
16CRS062725 51

In The General Court Of Justice

CJ District Superior Court Division

 

STATE VERSUS

 

Name Of Defendant
BLACK, JEFFREY,DONALD

 

 

ADDITIONAL FILE NO.(S) AND OFFENSE(S)

 

NOTE: Use this page in conjunction with alt NCAOC judgment or probationary forms, to fist additional offenses of conviction, deferred prosecution, or
conditional discharge addressed in the court’s order. There are no A, B, C, D, or other variations of this form, so this page can be used to continue

an offense list from any of the related forms, for any date(s) of offense or conviction.

 

 

16CRS062729 | 52 | LARCENY AFTER BREAK/ENTER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

File No.(s) Off. Offense Description Offense Date G.S. No. Fim | cL. | Eun
16CRS062727| 51 | POSS STOLEN GOODS/PROP (F) 08/09/2016 14-71,1 F/H
16CRS062729 | 51 | BREAKING AND OR ENTERING (F) 08/04/2016 14-54(A) F | H

08/04/2016 14-72(B)(2) F}H

 

 

 

 

 

 

 

 

 

 

*NOTE: Enter punishment class if different from underlying offense class (punishment class represents a status or enhancement),

AOC-CR-626, Rev. 12/16
© 2016 Administrative Office of the Courts

(Over)

Case 3:20-cr-00426-FDW-DSC Document 51-4 Filed 10/27/21 Page 6 of 6
